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           Exhibit A
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From:                Gottlieb, Michael
Sent:                Sunday, January 19, 2025 1:20 PM
To:                  bfreedman@lftcllp.com; cpuello@lftcllp.com; sliner@lftcllp.com
Cc:                  Hudson, Esra; Bender, Kristin; Roeser, Stephanie
Subject:             RE: Wayfarer v. Lively et al
Attachments:         Waiver of Service - Lively.pdf; Waiver of Service - Ryenolds.pdf; FW: Lively v. Wayfarer Studios et al
                     (SDNY)


Dear Mr. Freedman,

I am following up on my email of last night, which like the emails from December and January it references, you have
not responded to by email or phone. As you likely know, last night there was an incident where one of your process
servers followed a young female employee of our clients, late at night, to the home in which that employee was staying.
She was sufficiently disturbed by the conduct that she filed a police report. To avoid further wasting your clients’
resources, incidents involving third parties, and trespassing on private property, I reiterate that our clients have waived
service, and attach waivers regarding the same.

As you know, Rule 4(d)(1) of the Federal Rules of Civil Procedure provides that any “individual, corporation, or
association that is subject to service under Rule 4(e), (f), or (h) has a duty to avoid unnecessary expenses of serving the
summons.” We asked you to comply with that obligation back in December when Ms. Lively filed her complaint, and
again in January, and each time you refused even to respond, instead forcing us to go to the time and expense of serving
all of your clients (after which you appear to have taken the position that our clients were at fault for attempting to
effectuate personal service, even though you could have avoided all of that by simply complying with your obligations
under Rule 4). Last night, to comply with the letter of Rule 4, we reached out to inform you that there was no need to
incur unnecessary expenses of serving our clients in person, and offered to accept service by email. We have now
attached signed and executed waivers confirming the same.

Please respond in writing today with a copy of the complaint so that we may have a complete record of service that can
be presented to the Court. If you decline to do so, please explain in writing why you are insisting upon incurring the
“unnecessary expenses” of personal service rather than following the process contemplated by Rule 4.

Respectfully,




Michael Gottlieb
Willkie Farr & Gallagher LLP
1875 K Street, N.W. | Washington, DC 20006-1238
Direct: +1 202 303 1442 | Fax: +1 202 303 2000
mgottlieb@willkie.com | vCard | www.willkie.com bio



From: Gottlieb, Michael <MGottlieb@willkie.com>
Sent: Saturday, January 18, 2025 9:16 PM
To: bfreedman@lftcllp.com; cpuello@lftcllp.com
Cc: Hudson, Esra <EHudson@manatt.com>; Bender, Kristin <KBender@willkie.com>; Roeser, Stephanie

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<SRoeser@manatt.com>
Subject: Wayfarer v. Lively et al

Mr. Freedman,

As I am sure you will recall, we reached out to you to ask whether you would accept service on behalf of your clients
when Ms. Lively filed her lawsuit against your clients in the Southern District of New York. We made that request
because we generally find it less invasive, and far more efficient for all parties, to effectuate service in a collegial
manner. Unfortunately, you did not respond to that request, or agree to accept service on behalf of any of your clients
in response to our request.

By this email, I am notifying you that you may serve your clients’ complaints against Ms. Lively and Mr. Reynolds by
email to me or my colleagues. Our clients have authorized us to accept service on their behalf. If you would like to send
us the complaint, we will send you a waiver of service form for your records. There is no reason to waste any more of
your clients’ resources, or needlessly frighten uninvolved third parties with process servers.

Respectfully,

Mike

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Michael Gottlieb
Willkie Farr & Gallagher LLP
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AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Southern District
                                                     __________  DistrictofofNew York
                                                                              __________

                Wayfarer Studios LLC, et al.                                 )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 1:25-cv-00449
            Blake Lively, Ryan Reynolds, et al.                              )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Bryan Freedman
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                01/19/2025            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:          01/19/2025                                                                              /s/ Michael J. Gottlieb
                                                                                            Signature of the attorney or unrepresented party

                          Blake Lively                                                                   Michael J. Gottlieb
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                  WiIlkie Farr & Gallagher LLP
                                                                                                      1875 K Street, N.W.
                                                                                                  Washington, DC 20006-1238
                                                                                                                 Address

                                                                                                      mgottlieb@willkie.com
                                                                                                             E-mail address

                                                                                                           (202) 303-1000
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
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AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Southern District
                                                     __________  DistrictofofNew York
                                                                              __________

                Wayfarer Studios LLC, et al.                                 )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 1:25-cv-00449
            Blake Lively, Ryan Reynolds, et al.                              )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Bryan Freedman
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                01/19/2025            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:          01/19/2025                                                                              /s/ Michael J. Gottlieb
                                                                                            Signature of the attorney or unrepresented party

                        Ryan Reynolds                                                                    Michael J. Gottlieb
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                  WiIlkie Farr & Gallagher LLP
                                                                                                      1875 K Street, N.W.
                                                                                                  Washington, DC 20006-1238
                                                                                                                 Address

                                                                                                      mgottlieb@willkie.com
                                                                                                             E-mail address

                                                                                                           (202) 303-1000
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
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From:                Bender, Kristin
Sent:                Tuesday, January 7, 2025 8:03 PM
To:                  bfreedman@lftcllp.com
Cc:                  Gottlieb, Michael; Hudson, Esra; Roeser, Stephanie
Subject:             FW: Lively v. Wayfarer Studios et al (SDNY)
Attachments:         1-24-cv-10049.zip


Mr. Freedman,

Service has been eﬀectuated on Wayfarer Studios LLC, It Ends With Us Movie LLC, and The Agency Group PR LLC. Service
of process as to the remainder of the defendants is underway. Please advise if you will accept service on behalf of the
remaining defendants – Jus n Baldoni, Jamey Heath, Steve Sarowitz, Melissa Nathan, and Jennifer Abel.

Regards,
Kris n


Kristin Bender
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1875 K Street, N.W. | Washington, DC 20006-1238
Direct: +1 202 303 1245 | Mobile: +1 703 732 4995
kbender@willkie.com | vCard | www.willkie.com bio

From: Gottlieb, Michael <MGottlieb@willkie.com>
Sent: Tuesday, December 31, 2024 6:50 PM
To: BFreedman@lftcllp.com
Cc: Hudson, Esra <EHudson@manatt.com>; Bender, Kristin <KBender@willkie.com>; Stephanie Roeser
<SRoeser@manatt.com>
Subject: Lively v. Wayfarer Studios et al (SDNY)

Mr. Freedman,

I a ach a federal court complaint filed earlier today in the Southern District of New York against Wayfarer Studios, LLC
and others, as listed on the cap on. Please let us know if you will represent Wayfarer or any of the other listed par es in
this ac on, and, if so, whether you will accept service on their behalf.

Respec ully,

Mike Go lieb




Michael Gottlieb
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